Case 1:23-md-03072-CMH-WEF Document 55 Filed 08/04/23 Page 1 of 1 PagelD# 2916

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division
IN RE:

AIR CRASH INTO THE JAVA SEA MDL No. 1:23-md-3072

ON JANUARY 9, 2021

eet ee ee

ORDER
THIS MATTER comes before the Court on Illinois Plaintiffs’
Motion for Leave to File Opposition to Boeing’s Forum Non
Conveniens Motion or Join Virginia Plaintiffs’ Opposition to
Boeing's Forum Non Conveniens Motion. It is hereby
ORDERED that Illinois Plaintiffs may join Virginia

Plaintiffs’ Opposition to Boeing’s Forum Non Conveniens Motion.

C26. be. IA. ~ALG,.

CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
August “4, 2023
